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                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                            1100 East Main Street, Suite 501, Richmond, Virginia 23219
                                          www.ca4.uscourts.gov
                                            April 15, 2025

                                          ___________________

                                               No. 25-142
                                      (6:24-cv-00041-NKM-CKM)
                                         ___________________

        LIBERTY UNIVERSITY, INC.

                       Petitioner

        v.

        ELLENOR ZINSKI

                       Respondent
                        ___________________________________________

                                 RULE 5 DOCKETING NOTICE
                         ___________________________________________

        TO: Counsel

        ATTACHMENT(S): Memorandum on Sealed and Confidential Information

        RESPONSE/ANSWER REQUESTED: 04/25/2025

             •   This case has been placed on the miscellaneous docket as a petition for
                 permission to appeal.
             •   Counsel should review the above caption and promptly bring any necessary
                 corrections to the case manager's attention.
             •   In consolidated cases, filings should be made using all case numbers to
                 which the filing applies, beginning with the lead case number.
             •   Electronic filing is mandatory for counsel in all Fourth Circuit cases.
                 Information on obtaining an electronic filing account is available on the
                 court's Internet site.
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           •   In cases in which more than one attorney represents a party, future notices
               will be sent only to attorneys who have entered an appearance as counsel of
               record; other attorneys will be removed from the case.
           •   Counsel must remove from documents filed with this court any social
               security numbers, juvenile names, dates of birth, financial account numbers,
               home addresses in criminal cases, and protected information regarding
               unexecuted summonses, jurors, presentence investigations, statements of
               reasons in criminal judgments, and substantial assistance agreements. Any
               sealed material must be filed in accordance with the enclosed Memorandum
               on Sealed and Confidential Material. The court does not seal its docket;
               therefore, counsel must use sealed entries for all sealed filings.
           •   An answer to the petition for permission to appeal is requested by the due
               date shown. The parties shall file within the same time the initial forms
               required upon docketing, as set forth in the following table of forms. The
               forms can be completed and printed or saved in electronic form. The forms,
               available through the links below or on the court's Internet site, can be
               completed online and printed to PDF for filing in electronic form.

         Form:           Required From:                                           Due:
         Appearance of   Counsel of record for any party to the appeal (If not    Within 10 days of this
         Counsel         admitted to this court, counsel must complete and        notice
                         submit an application for admission.)

         Disclosure      All parties to a civil or bankruptcy case and all        Within 10 days of this
         Statement       corporate defendants in a criminal case (not required    notice
                         from the United States, from indigent parties, or from
                         state or local governments in pro se cases). Required
                         from United States in criminal case with
                         organizational victim.


        I will be the case manager for this case. Please contact me at the number listed
        below if you have any questions regarding your case.

        Kirsten Hancock, Deputy Clerk
        804-916-2704
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                   SEALED & CONFIDENTIAL MATERIALS
        Internet Availability of Docket & Documents

        Fourth Circuit case dockets and documents are available on the Internet via the
        Judiciary's PACER system (Public Access to Court Electronic Records). The
        Fourth Circuit docket is available on the Internet even if the district court docket
        was sealed. If a party's name was sealed in the district court, it should be replaced
        by "Under Seal" or a pseudonym on appeal.

        Due to the electronic availability of court documents, the federal rules prohibit
        including certain personal data identifiers in court filings. In addition, parties
        should not include any data in their filings that they would not want on the
        Internet. Counsel should advise their clients on this subject so that an informed
        decision can be made. Responsibility rests with counsel and the parties, not with
        the clerk.

        Documents filed by the parties in immigration, social security, and railroad
        retirement board cases are not accessible over the Internet to the public. Public
        Internet access is limited to the court's docket, orders, and opinions in these cases.
        Parties wishing to prevent their full names from appearing in court documents,
        including opinions available on the Internet, may file a motion to redact their name
        to use only their first name and last initial rather than their full name.

        Federal Rules of Procedure

        The federal rules of procedure require filers to redact any of the following personal
        data identifiers (PDIs) if included in court filings: (1) social security and tax ID
        numbers must be limited to last four digits; (2) minor children must be identified
        by their initials only; (3) dates of birth must show the year only; (4) financial
        account numbers must be limited to the last four digits only; and (5) home
        addresses in criminal cases must be limited to city and state only. The federal rules
        establish limited exceptions to these redaction requirements. See Fed. R. App. P.
        25(a)(5); Fed. R. Civ. P. 5.2; Fed. R. Crim. P. 49.1; Fed. R. Bankr. P. 9037

        Judicial Conference Privacy Policy

        In addition, the judiciary's regulation on Privacy Policy for Electronic Case Files
        prohibits filers from including any of the following criminal documents in the
        public file: (1) unexecuted summonses or warrants; (2) bail or presentence reports;
        (3) statement of reasons in judgment of conviction; (4) juvenile records; (5)
        identifying information about jurors or potential jurors; (6) CJA financial
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        affidavits; (7) ex parte requests to authorize CJA services and (8) any sealed
        documents, such as motions for downward departure for substantial assistance,
        plea agreements indicating cooperation, or victim statements. Any reference to
        substantial assistance or cooperation with the government in criminal proceedings
        should be sealed in the parties' briefs.

        Local Rule 25(c)

        Local Rule 25(c) limits the sealing of documents by requiring that sealed record
        material be separated from unsealed material and placed in a sealed volume of the
        appendix and by requiring the filing of both sealed, highlighted versions and
        public, redacted versions of briefs and other documents.

        Since the ECF events for sealed filings make the documents accessible only to the
        court, counsel must serve sealed documents on the other parties outside ECF.

        Sealed Volume of Appendix

        If sealed record material needs to be included in the appendix, it must be placed in
        a separate, sealed volume of the appendix and filed with a certificate of
        confidentiality. In consolidated criminal cases in which presentence reports are
        being filed for multiple defendants, each presentence report must be placed in a
        separate, sealed volume served only on Government counsel and counsel for the
        defendant who is the subject of the report.

           •   Use ECF event-SEALED JOINT APPENDIX (court access) and
               SEALED SUPPLEMENTAL APPENDIX (court access) to file sealed
               electronic appendix volume(s). Cover of sealed appendix volume must be
               marked SEALED, and paper copies must be placed in envelopes marked
               SEALED. Sealed volume must be served on other parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material. A paper copy of the certificate of confidentiality must accompany
               the paper copy of the sealed appendix filed with the court.
           •   Use ECF event-JOINT APPENDIX and SUPPLEMENTAL APPENDIX
               to file public electronic appendix volumes(s).

        Sealed Version of Brief

        If sealed material needs to be referenced in a brief, counsel must file both a sealed,
        highlighted version of the brief and a public, redacted version of the brief, as
        well as a certificate of confidentiality.
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           •   Use ECF event-SEALED BRIEF (court access)(formal briefs under seal)
               to file sealed electronic version of brief in which sealed material has been
               highlighted. Cover of sealed brief must be marked SEALED, and paper
               copies must be placed in envelopes marked SEALED. Sealed version must
               be served on other parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material. A paper copy of the certificate of confidentiality must accompany
               the paper copy of the sealed brief filed with the court.
           •   Use ECF event-BRIEF (formal briefs not under seal) to file public
               electronic version of brief from which sealed material has been redacted.

        Sealed Version of Motions and Other Documents

        If sealed material needs to be referenced in a motion or other document, counsel
        must file both a sealed, highlighted version and a public, redacted version, as
        well as a certificate of confidentiality.

           •   Use ECF event-SEALED DOCUMENT to file sealed electronic version of
               document in which sealed material has been highlighted. First page of
               document must be marked SEALED. Sealed version must be served on other
               parties outside ECF.
           •   Use ECF event-Certificate of confidentiality to identify authority for
               treating material as sealed and to identify who may have access to sealed
               material.
           •   Use the appropriate ECF event (e.g., MOTION or RESPONSE/ANSWER)
               to file public electronic version of document from which sealed material has
               been redacted.

        Motions to Seal

        A certificate of confidentiality may be used to request sealing of information
        protected by the Privacy Policy for Electronic Case Files, or by statute, rule,
        regulation, or order. To request sealing of other materials, or to request sealing of
        an entire brief or motion due to inability to create a public, redacted version,
        counsel must file a motion to seal.

        The motion to seal must appear on the public docket for five days. The motion
        must identify the document or portions thereof for which sealing is requested, the
        reasons why sealing is necessary, the reasons a less drastic alternative will not
        afford adequate protection, and the period of time for which sealing is required. If
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        it is necessary to reference sealed material in the motion, a sealed, highlighted
        version and a public, redacted version of the motion must be filed.

        Highly Sensitive Documents

        The court has adopted Standing Order 21-01 implementing procedures adopted by
        the Federal Judiciary for the filing of highly sensitive sealed documents in paper
        form, accompanied by a certificate (for material sealed by the district court or other
        tribunal) or motion (for requests to file material under seal in the first instance).

        Forms: Certificate of Confidentiality & Certificate for Highly Sensitive Document
        Protection

        Instructions: How do I redact items from pleadings? (Marking out text in a word
        processing document using a highlighter or box tool does not remove sensitive data
        from the document.)
